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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
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&lt;/STRONG&gt;&lt;/P&gt;
&lt;CENTER&gt;NO. 03-9&lt;A NAME="1"&gt;9&lt;/A&gt;-00&lt;A NAME="2"&gt;829&lt;/A&gt;-CR&lt;/CENTER&gt;


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&lt;/STRONG&gt;&lt;/P&gt;



&lt;CENTER&gt;Willie Jordan Wilson&lt;A NAME="3"&gt;&lt;/A&gt;, Appellant&lt;/CENTER&gt;


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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;v.&lt;/CENTER&gt;
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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;The State of Texas, Appellee&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE DISTRICT COURT OF &lt;A NAME="4"&gt;BELL&lt;/A&gt; COUNTY, &lt;A NAME="5"&gt;264TH&lt;/A&gt; JUDICIAL DISTRICT&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;

&lt;P&gt;&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. &lt;A NAME="6"&gt;49,100&lt;/A&gt;, HONORABLE &lt;A NAME="7"&gt;MARTHA J. TRUDO&lt;/A&gt;, JUDGE PRESIDING&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;/STRONG&gt;&lt;/P&gt;



Appellant Willie Jordan Wilson waived trial by jury and pleaded guilty to
aggravated robbery.  &lt;EM&gt;See&lt;/EM&gt; Tex. Penal Code Ann. § 29.03 (West 1994).  The district court adjudged
him guilty and assessed punishment at imprisonment for twenty years and a $1000 fine.

&lt;P&gt;Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of &lt;EM&gt;Anders v. California&lt;/EM&gt;, 386 U.S.
738 (1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  &lt;EM&gt;See also&lt;/EM&gt; &lt;EM&gt;Penson v. Ohio&lt;/EM&gt;, 488 U.S. 75 (1988); &lt;EM&gt;High v. State&lt;/EM&gt;,
573 S.W.2d 807 (Tex. Crim. App. 1978); &lt;EM&gt;Currie v. State&lt;/EM&gt;, 516 S.W.2d 684 (Tex. Crim. App.
1974); &lt;EM&gt;Jackson v. State&lt;/EM&gt;, 485 S.W.2d 553 (Tex. Crim. App. 1972); &lt;EM&gt;Gainous v. State&lt;/EM&gt;, 436 S.W.2d
137 (Tex. Crim. App. 1969).  A copy of counsel's brief was delivered to appellant, and appellant
was advised of his right to examine the appellate record and to file a pro se brief.  No pro se brief
has been filed.&lt;/P&gt;

&lt;P&gt;We have reviewed the record and counsel's brief and agree that the appeal is
frivolous and without merit.  We find nothing in the record that might arguably support the
appeal.&lt;/P&gt;

&lt;P&gt;The judgment of conviction is affirmed.&lt;/P&gt;

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&lt;P&gt;	&lt;SPAN STYLE="text-decoration: underline"&gt;                                                                       
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&lt;P&gt;	Marilyn Aboussie, Chief Justice&lt;/P&gt;

&lt;P&gt;Before Chief Justice Aboussie, Justices Kidd and B. A. Smith&lt;/P&gt;

&lt;P&gt;Affirmed&lt;/P&gt;

&lt;P&gt;Filed:   June 29, 2000&lt;/P&gt;

&lt;P&gt;Do Not Publish&lt;/P&gt;

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